Case 1:21-cr-00628-ABJ Document 45-1 Filed 09/01/22 Page 1 of 3




          EXHIBIT A
         Case 1:21-cr-00628-ABJ Document 45-1 Filed 09/01/22 Page 2 of 3




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                         Case. No. 21-CR-628 (ABJ)
 MICHAEL ANGELO RILEY,

                 Defendant.

                 GOVERNMENT’S PROPOSED STATEMENT OF THE CASE

       The Indictment in this case charges the Defendant, Michael Angelo Riley, with two counts

of obstruction of justice. Count One alleges that the Defendant obstructed justice by directing

another person to remove from Facebook information about that person’s activities at the U.S.

Capitol on January 6, 2021. Count Two alleges that the Defendant obstructed justice by deleting

his own Facebook messages with that other person.

       Specifically, Count One of the Indictment alleges that on or about January 7, 2021, the

Defendant committed obstruction when he initiated contact through a Facebook direct message

with an individual named Jacob Hiles, and knowingly and corruptly persuaded or attempted to

persuade Hiles to take down records from Facebook relating to Hiles’ conduct at the U.S. Capitol

on January 6, 2021, with the intent of making the records unavailable for use in an official

proceeding, that is, the federal grand jury investigation resulting from the January 6 breach of the

U.S. Capitol.

       Count Two of the Indictment alleges that on or about January 20, 2021, after learning that

Jacob Hiles had been arrested and interviewed by the Federal Bureau of Investigation and informed

them that he had been communicating with the Defendant, the Defendant committed obstruction

when he deleted his own Facebook communications with Hiles to impair their use in an official


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         Case 1:21-cr-00628-ABJ Document 45-1 Filed 09/01/22 Page 3 of 3




proceeding, that is, the federal grand jury investigation resulting from the January 6 breach of the

U.S. Capitol.

       The Defendant denies the allegations in Count One and Count Two.



                DEFENDANT’S PROPOSED STATEMENT OF THE CASE

       The Indictment in this case charges the Defendant, Michael Angelo Riley, with two counts

of obstruction of justice. Count One alleges that the Defendant obstructed justice by directing

Jacob Hiles to take down from Facebook a part of a Facebook post referencing Mr. Hiles’ presence

inside the United States Capitol on January 6, 2021 with the intent of making the portion of the

Facebook post unavailable in a grand jury proceeding. Count Two alleges that the Defendant

obstructed justice by deleting his Facebook messages with Jacob Hiles with the intent of making

those Facebook messages unavailable in a grand jury proceeding.

       The Defendant denies that he obstructed justice or that he intended to obstruct justice.




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